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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )            8:07CR173
                    Plaintiff,                   )
                                                 )
      vs.                                        )             ORDER
                                                 )
HERMAN CASTILLO-TORRES,                          )
                                                 )
                    Defendant.                   )




      This matter is before the court on the motion of James E. Reisinger, CJA, to
withdraw as counsel for the defendant, Herman Castillo-Torres [28]. Since retained
counsel, Horacio J. Wheelock has entered an appearance for the defendant [24], the
motion to withdraw [28] is granted. James E. Reisinger shall be deemed withdrawn as
attorney of record and shall forthwith provide Horacio J. Wheelock with the discovery
materials provided the defendant by the government and such other materials obtained by
Mr. Reisinger which are material to the defendant’s defense.


      IT IS SO ORDERED.
      DATED this 29th day of May, 2007.


                                                 BY THE COURT:


                                                 s/ F.A. Gossett
                                                 United States Magistrate Judge
